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UNITED STATES DISTRICT COURT
MIDDLE DlSTRlCT OF FLORlDA
ORLANDO DIVISION
CLINTON STEPHENSON,

Plaintiff,
v. Case No. 6:14-cv-00978-RBD-KRS

AMICA MUTUAL INSURANCE COMPANY

Defendant.

 

PLAINTIFF’S STIPULATION

COME NOW, undersigned counsel for the Plaintiff, CLINTON STEPHENSON, and
hereby stipulates to the following:

1. Counsel for the Plaintiff stipulates that the Plaintiff is willing to accept at this
time, an amount of $50,000.00 or less for the settlement of this matter.

2. That at the time of removal of this matter, the Plaintiff would have accepted
an amount of $50,000.00 or less to settle his claim against Defendant Amica.

3. Plaintiff currently resides out of the area but counsel is attempting to obtain
an affidavit executed by Plaintiff reflecting the above stipulation

Dated this 215‘ of July, 2014.

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DAvID J. GOBMZ, EsQUIRE
Florida Bar No. 817678
1900 S. Harbor City Blvd., Suite 129
Melboume, FL 32901
(321) 984-0046
Attorney for Plaintiff

PLA|NTIFF'S

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CERTIFICATE OF SERVICE
I I-IEREBY CERTIFY that on July 21, 2014, I electronically filed the foregoing
documents with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
is being served this day on BRIAN STOKES, ESQUIRE, bdstokes@awtspa.corn,

aliranzo@awtspa.com and eservice@awtspa.com counsel for AMICA MUTUAL INSURANCE

COMPANY, via transmission ofNotice of Electronic Filing generated by CM/ECF.

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opile J. GOREWITZ,’ESQUIRE
Florida Bar No. 817678

1900 S. Harbor City Blvd., Suite 129
Melbourne, FL 32901

(321) 984-0046

Attomey for Plaintiff

David@gorewitzlaw.com (P)
Anita@gorewitzlaw.com (S)
Sabrina@gorewitzlaw.com (S)

